ARTICLES
Reduction in Mental Health Treatment Utilization
Among Transgender Individuals After Gender-Af_rming
Surgeries: A Total Population Study
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Objective: Despite professional recommendations to con-               Results: Compared with the general population, individuals
sider gender-af_rming hormone and surgical interventions              with a gender incongruence diagnosis were about six times
for transgender individuals experiencing gender incongru-             as likely to have had a mood and anxiety disorder health care
ence, the long-term effect of such interventions on mental            visit, more than three times as likely to have received pre-
health is largely unknown. The aim of this study was to ascer-        scriptions for antidepressants and anxiolytics, and more than
tain the prevalence of mood and anxiety disorder health care          six times as likely to have been hospitalized after a suicide
visits and antidepressant and anxiolytic prescriptions in 2015        attempt. Years since initiating hormone treatment was not
as a function of gender incongruence diagnosis and gender-            signi_cantly related to likelihood of mental health treatment
af_rming hormone and surgical treatment in the entire                 (adjusted odds ratio=1.01, 95% CI=0.98, 1.03). However,
Swedish population.                                                   increased time since last gender-af_rming surgery was as-
sociated with reduced mental health treatment (adjusted
Methods: This study used the Swedish Total Population                 odds ratio=0.92, 95% CI=0.87, 0.98).
Register (N=9,747,324), linked to the National Patient Register
and the Prescribed Drug Register. Among individuals who re-           Conclusions: In this _rst total population study of transgen-
ceived a diagnosis of gender incongruence (i.e., transsex-            der individuals with a gender incongruence diagnosis, the
ualism or gender identity disorder) between 2005 and 2015             longitudinal association between gender-af_rming surgery
(N=2,679), mental health treatment in 2015 was examined as            and reduced likelihood of mental health treatment lends
a function of length of time since gender-af_rming hormone            support to the decision to provide gender-af_rming surgeries
and surgical treatment. Outcome measures were mood and                to transgender individuals who seek them.
anxiety disorder health care visits, antidepressant and anxio-
lytic prescriptions, and hospitalization after a suicide attempt.     Am J Psychiatry 2020; 177:727–734; doi: 10.1176/appi.ajp.2019.19010080
Numerous studies indicate that transgender individuals—                   transgender individuals who experience gender incongruence
that is, individuals who experience incongruity between their             seek gender-af_rming medical interventions, including
sex assigned at birth and their current gender identity—are               hormone replacement therapy and gender-af_rming sur-
at particular risk of psychological distress and associated im-           geries (8). The World Professional Association for Transgender
pairment (e.g., suicidality) (1–3). This elevated risk is hypothesized    Health’s Standards of Care for the Health of Transsexual,
to stem at least in part from transgender individuals’ elevated           Transgender, and Gender Nonconforming People recommends
exposure to stigma-related stress, also known as minority stress          consideration of these interventions for af_rming transgender
(4, 5), and it can also result from the stress associated with a lack     individuals’ gender and alleviating gender-related stress (9).
of gender af_rmation (i.e., the accurate recognition and val-                Despite professional recommendations to consider gender-
idation of one’s gender identity) (6). ICD-11 (7) speci_es that           af_rming medical interventions for transgender individuals
individuals experiencing persistent discordance between                   who experience gender incongruence, the effect of such
their experienced gender and their assigned sex meet di-                  interventions on long-term mental health is largely unknown.
agnostic criteria for gender incongruence.                                Available evidence stems mainly from small samples utilizing
To alleviate the stress of persistent discordance between             cross-sectional designs and self-reported treatment expo-
experienced gender and assigned sex, an increasing number of              sures and mental health outcomes (2, 10, 11). A meta-analysis
See related feature: Editorial by Dr. Mueller (p. 657)
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REDUCTION IN MENTAL HEALTH TREATMENT UTILIZATION AFTER GENDER-AFFIRMING SURGERIES
that aggregated data across nearly two dozen small-sample          and not all treatment-seeking transgender individuals meet
studies (10), mostly relying on cross-sectional designs, found     diagnostic criteria for gender incongruence, _ndings from
positive associations between self-reports of receiving both       this unique data opportunity have timely implications for
hormone therapy and gender-af_rming surgery and mental             documenting the mental health of transgender individuals
health. Several more recent uncontrolled studies of the ef-        seeking gender-af_rmative treatment and ways in which the
fects of hormone replacement therapy on transgender in-            medical profession can support this increasingly visible
dividuals’ mental health have found that transgender               population.
individuals’ mental health improved for up to 24 months
after initiating hormone therapy (11, 12).
METHODS
Because of previous studies’ limitations, including short
assessment periods and the fact that existing probability-         This total population prospective study included all indi-
based surveys do not routinely assess transgender status or        viduals living in Sweden on December 31, 2014, as identi_ed
other aspects of gender diversity, insuf_cient evidence exists     in the Swedish Total Population Register. Using de-identi_ed
regarding associations between length of time since receiving      personal identi_cation numbers (a unique number assigned
gender-af_rming interventions and treatment for psychiatric        to all Swedish residents), we linked sociodemographic in-
disorders among the transgender population. In fact, no            formation with National Patient Register information on
probability-based evidence exists regarding even the prevalence    health care usage between January 1, 2005, and December
of mood and anxiety disorder treatment among transgender           31, 2015, and Prescribed Drug Register information on
individuals compared with the general population (1).              prescribed and purchased medication between July 1,
The limitations of previous research in terms of non-           2005, and December 31, 2015. The study was approved by
representative sampling, self-reported measurement, and            the Regional Ethics Committee in Stockholm (no. 2017/
limited follow-up periods can be overcome with national            1736–31).
health registry data sets that include clinician-derived as-
sessment of gender incongruence and complete records of            Gender Incongruence Diagnosis
psychiatric and gender-af_rming treatment and utilization          Using the Swedish National Patient Register, we classi_ed all
data in an entire population. In the one known study to use a      individuals in Sweden according to whether they had re-
population-based design to investigate psychiatric morbidity       ceived a diagnosis of gender incongruence, as de_ned by the
among transgender individuals (N=324), individuals who had         diagnostic system applied in Sweden during the study period
legally changed their gender and had a diagnosis of gender         (i.e., a diagnosis of either transsexualism [ICD-10 code F64.0]
incongruence associated with an inpatient hospital visit in        or gender identity disorder [ICD-10 codes F64.8, F64.9])
Sweden between 1973 and 2003 were at higher risk of                during an inpatient or specialized outpatient visit between
suicide attempts, suicide-related mortality, and psychiatric       January 1, 2005, and December 31, 2015. The two diagnoses
hospitalization compared with age- and reassigned-gender-          used to de_ne gender incongruence at the time of the study
matched controls (13). The study did not report the preva-         are not fully equivalent but capture largely overlapping
lence of mood and anxiety disorder treatment among those           populations (20). In Sweden during the study period, a di-
receiving gender-af_rming treatment compared with the              agnosis of either transsexualism or gender identity disorder
total population or as a function of length of time since re-      was required for accessing gender-af_rming treatment (e.g.,
ceiving gender-af_rming treatment. Furthermore, the pro-           gender-af_rming hormone treatment, hormone-suppressing
portion of individuals receiving gender-af_rming treatments        or -blocking medication treatment, mastectomy with chest
in Sweden has increased nearly exponentially since 2003 (8,        contouring, hair removal, vocal cord surgery, speech ther-
14). Similar recent increases in referrals for gender-af_rming     apy, genital surgery) and was given after an approximately
treatments have been reported in other countries around the        yearlong evaluation, following a national consensus program
world (15–18).                                                     (14, 21). Adolescents could receive the same gender-af_rming
In this study, we took advantage of the Swedish Total           treatments as adults but could not receive genital surgery
Population Register (19), linked to the Swedish National Pa-       before age 18 (22).
tient Register and the Swedish Prescribed Drug Register, to
ascertain the prevalence of mood and anxiety disorder health       Outcome Measures
care visits, antidepressant and anxiolytic prescriptions, and      This study’s outcome measures were psychiatric outpatient
hospitalization after a suicide attempt among the entire           health care visits, antidepressant and anxiolytic prescrip-
Swedish population as a function of gender incongruence            tions, and hospitalization after a suicide attempt between
diagnosis, gender-af_rming hormone and surgery utilization,        January 1, 2015, and December 31, 2015. Restricting the
and length of time since receiving gender-af_rming treat-          outcome assessment period to one year, 2015, the most recent
ments. This data set permitted identi_cation of all individ-       available, removes potential confounding by secular trends in
uals in Sweden seeking gender-af_rming treatments between          treatment utilization and transgender acceptance and visi-
January 1, 2005, and December 31, 2015. Although not all           bility. Each psychiatric outpatient visit was coded by the
transgender individuals seek gender-af_rming treatments            treating physician with a primary diagnosis from ICD-10 (23)
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and up to 20 supplementary ICD-10 diagnostic              TABLE 1. Demographic characteristics of the Swedish population, by gender
codes. Using these codes, we classi_ed all in-            incongruence diagnosis, December 31, 2014
dividuals as having received treatment for any                                                 Individuals Diagnosed
or no mood disorders (codes F30–F39) or                                                               With Gender           General Populationa
Measure                         Incongruence (N=2,679)             (N=9,744,645)
anxiety disorders (codes F40–F42). Prescribed
medication use was obtained from the Swedish                                                     Mean             SD           Mean          SD
Prescribed Drug Register, which contains                  Age (years)                            31.5             14.0         40.7         23.8
information regarding all prescribed and                  Mean yearly household                298.4            301.0         464.8        800.6
purchased medications nationwide for all in-                income (Swedish kronor,
000s)
dividuals. Individuals were categorized into
any use or no use of antidepressant and anxi-                                                      N               %             N            %
olytic medication according to the Anatomical             Legal gender
Therapeutic Chemical (ATC) Classi_cation                    Male                                 1,284            47.9      4,870,930        50.0
system (codes N06A and N05B). All inpatient                 Female                               1,395            52.1       4,873,715       50.0
health care visits were similarly coded by the            University education                    809             30.2      2,643,505        27.1
Urbanicity
treating physician using ICD-10, indicating a
Larger city                        1,102          41.1         3,364,003          34.5
primary cause of hospitalization and up to                  Smaller city                           867            32.4      3,238,223        33.2
30 supplementary causes. Using these codes,                 Rural community                        710            26.5       3,142,419       32.2
we classi_ed all individuals as having been               Country of birth
hospitalized after a suicide attempt (versus not)          Sweden                                2,214            82.6       8,141,590       83.5
using the ICD-10 codes for intentional self-               Other European country                  164             6.1         801,227        8.2
harm (codes X60–X84).                                      Outside of Europe                       301            11.2        800,800         8.2
No information about                     0          0.0               1,028         0.01
country of birth
Covariates                                              a
The N for general population excludes those with a diagnosis of gender incongruence.
Sociodemographic information was drawn
from the Swedish Total Population Register in
December 2014 and included current legal gender, age,                       period were coded by type of surgery using the Nordic Medico-
country of birth, level of education, urbanicity, and household             Statistical Committee Classi_cation of Surgical Procedures
income.                                                                     (16): breast or dermatological chest surgery (codes H and
QB), surgery of the reproductive organs (codes K and L),
Gender-Af_rming Treatment Utilization                                       dermatological surgery (code Q), and laryngeal surgery
For individuals with a gender incongruence diagnosis at                     (code DQ).
any visit, we assessed the type and year of gender-af_rming
treatment, both hormone treatment and surgery. Information                  Statistical Analysis
about hormone treatment, including androgen-suppressing                     We _rst examined sociodemographic differences be-
and -blocking medication, was obtained from the Swedish                     tween individuals with a gender incongruence diagno-
Prescribed Drug Register between July 1, 2005, and De-                      sis and the rest of the population in Sweden. We then
cember 31, 2015. All medications prescribed to individuals                  compared the prevalence of any mood and anxiety disor-
who had received a gender incongruence diagnosis were                       der treatments (i.e., psychiatric outpatient health care
coded as gender-af_rming if they were feminizing hor-                       visits and prescribed psychiatric medication) between
mone medication (i.e., estrogens [ATC codes G03C, L02AA],                   individuals receiving gender-af_rming treatments and
progestogen [G03D]), masculinizing hormone medication (i.e.,                the rest of the population in Sweden during 2015, using lo-
androgens [G03B]), or androgen-suppression or -blocking med-                gistic regression. Among individuals with a gender in-
ication (i.e., testosterone-5-alpha reductase inhibitors [G04CB],           congruence diagnosis, we then investigated the odds of
antiandrogens [G03H], gonadotropin-releasing hormone ana-                   mood and anxiety disorder treatment and hospitalization
logues [G03GA, L02AE, H01CA], antigonadotropin-releasing                    following a suicide attempt (occurring in 2015) as a function
hormones [H01CC], and spironolactone [C03DA01]). For each                   of years since initiation of hormone or hormone-suppressing
individual with a gender incongruence diagnosis who received                treatment and since last gender-af_rming surgery. We ex-
prescriptions for any of these medications, we calculated the               amined years since last gender-af_rming surgery because
number of years since initiation.                                           gender-af_rming surgery is often a lengthy process involving
Gender-af_rming surgery was coded using information                    several distinct procedures before gender af_rmation is
about all inpatient surgical procedures received by indi-                   attained.
viduals with a gender incongruence diagnosis in the Na-                          All analyses were conducted using SPSS, version 24 (IBM,
tional Patient Register between January 1, 2005, and                        Armonk, N.Y.), and adjusted for current legal gender, age,
December 31, 2015. All surgical procedures associated with                  country of birth, level of education, urbanicity, and household
a gender incongruence diagnosis performed during this                       income.
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TABLE 2. Association between gender incongruence diagnosis and mood- and anxiety-related health care visits, antidepressant and
anxiolytic prescriptions, and hospitalization after suicide attempt in the total Swedish population, 2015a
Individuals Diagnosed
With Gender
Incongruence                 General Populationb
(N=2,679)                   (N=9,744,645)                        Unadjusted                        Adjusted
Measure                                     N               %               N                  %        Odds Ratio       95% CI       Odds Ratio       95% CI
Psychiatric outpatient visits,
2015
Any mood disorder                       250             9.3             95,137             1.0           10.44       9.16, 11.89        6.07        5.32, 6.93
Any anxiety disorder                    197             7.4             63,200             0.6           12.16      10.52, 14.06        5.92        5.10, 6.86
Prescribed medication
treatment, 2015
Any antidepressant use                    771          28.8           377,043              9.4             3.90      3.58, 4.24         3.95        3.62, 4.31
Any anxiolytic treatment                449            16.8           566,678              5.8             3.26      2.95, 3.61         3.43        3.09, 3.81
Inpatient visits, 2015
Hospitalization after                      22           0.8               7,104            0.1            11.35      7.46, 17.28        6.79       4.45, 10.35
suicide attempt
a
All analyses were conducted using logistic regression and adjusted for age, gender, education, income, urbanity, and country of birth.
b
The N for general population excludes those with a diagnosis of gender incongruence.
RESULTS                                                                                 Nearly 40% of those with a diagnosis of gender in-
congruence had received gender-af_rming surgical treat-
Of the total Swedish population on December 31, 2014
ments during the follow-up period. Table 3 presents the types
(N=9,747,324), 2,679 had received a diagnosis of gender in-
of surgical treatments and the distribution of individuals by
congruence between January 1, 2005, and December 31,
number of years since last gender-af_rming surgery. The
2015 (Table 1). Those diagnosed with gender incongruence
most common types of surgical procedures were mastectomy
were signi_cantly younger on average than the rest of the
with chest contouring, surgery of the reproductive organs,
population (t=19.94, p,0.001), and they were more likely to
dermatological surgeries, and laryngeal surgery.
have a current legal female gender than male gender (x2=4.54,
Less than a third (29%) of those diagnosed with gender
p=0.03). Individuals with a gender incongruence diagnosis
incongruence had received neither hormone treatment nor
were more likely to have a university education (x2=12.77,
gender-af_rming surgery. Among those who had received
p,0.001), to have a lower household income (t=30.61,
gender-af_rming surgery, 97% had also been treated with
p,0.001), to live in a larger city (x2=61.95, p,0.001), and to
hormones.
have been born outside of Europe (x2=32.33, p,0.001).
Mood and Anxiety Disorder Treatment Among                                            Changes in Likelihood of Mood and Anxiety Disorder
Individuals Diagnosed With Gender Incongruence                                       Treatment After Gender-Af_rming Hormone and
Table 2 compares the prevalence of health care visits and                            Surgical Treatment
medication treatment for mood and anxiety disorders be-                              We examined the effect of years since hormone treatment
tween individuals diagnosed with gender incongruence                                 initiation and years since last gender-af_rming surgery on
and those not. In analyses adjusted for sociodemographic                             likelihood of having received mood or anxiety disorder
factors, those diagnosed with gender incongruence were                               treatment in 2015 among individuals with a diagnosis of
about six times as likely to have had a health care visit due to                     gender incongruence. Among those with a gender incongru-
a mood or anxiety disorder in 2015, more than three times as                         ence diagnosis receiving hormone treatment, years since ini-
likely to have received prescriptions for antidepressant and                         tiation of hormone treatment was not signi_cantly related
anxiolytic medication in 2015, and more than six times as                            to likelihood of mental health treatment (i.e., psychiatric
likely to have been hospitalized after a suicide attempt.                            outpatient health care visits and prescribed psychiatric
medication; adjusted odds ratio=1.01, 95% CI=0.98, 1.03).
Gender-Af_rming Treatments Among Individuals                                         However, among those receiving gender-af_rming surgical
Diagnosed With Gender Incongruence                                                   treatment, the risk of mental health treatment was signi_-
Just over 70% of individuals diagnosed with gender in-                               cantly reduced with increased time since last surgical
congruence during the follow-up period (2005–2015) had                               treatment (adjusted odds ratio=0.92, 95% CI=0.87, 0.97).
received prescriptions for hormone treatment, includ-                                Speci_cally, the likelihood of being treated for a mood or
ing androgen-suppressing and -blocking medication, dur-                              anxiety disorder was reduced by 8% for each year since last
ing this period. Half of those treated with hormones had                             gender-af_rming surgery. The number of individuals with a
initiated their hormone treatment within the past 5 years                            gender incongruence diagnosis who had been hospitalized
(Table 3).                                                                           after a suicide attempt in 2015 was low (N=22) but was also
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reduced as a function of time TABLE 3. Type of, and years since, gender-af_rming hormone and surgery treatment in
since last surgical treatment. December 31, 2015, among individuals with a gender incongruence diagnosis in Sweden,
The association between January 1, 2005, to December 31, 2015
time since gender-af_rming            Measure                                                                 N                      %
hormone and surgical treat-                                                                         Individuals with gender incongruence
ments and hospitalization             Time since _rst gender-af_rming hormone treatment                         diagnosis (N=2,679)
after a suicide attempt did not        No hormone treatment                                                   794                 29.6
reach signi_cance (hormone             ,1 year                                                                359                   13.4
treatment: adjusted odds ra-           1 year                                                                 226                    8.4
tio=1.12, 95% CI=0.97, 1.30;           2–3 years                                                              367                   13.7
4–5 years                                                                330                 12.3
surgical treatment: adjusted           6–7 years                                                              176                    6.6
odds ratio=0.87, 95% CI=0.61,          8–9 years                                                              193                    7.2
1.24). Figure 1 presents the           $10 years                                                              234                    8.7
prevalence of mental health                                                                        All individuals receiving gender-af_rming
treatment (either health care         Type of hormone treatment (more than one type is possible)         hormone treatment (N=1,885)
visits for depression and anxi-        Estrogen or progesterone                                             1,066                 56.6
ety, antidepressant and anxio-         Androgen                                                               916                 48.6
lytic prescriptions, or both) and      Androgen-suppressing or -blocking medication                           808                 42.9
hospitalization after a suicide                                                                    All individuals with gender incongruence
attempt in 2015 by years since        Time since last gender-af_rming surgical treatment                        diagnosis (N=2,679)
last gender-af_rming surgical
No surgical treatment                                                  1,661                62.0
treatment.                             ,1 year                                                                353                   13.2
To assess the potentially          1 year                                                                 221                   8.2
interrelated and therefore             2–3 years                                                              198                    7.4
confounding         effect      of     4–5 years                                                              110                    4.1
6–7 years                                                                 68                  2.5
gender-af_rming hormone
8–9 years                                                                 49                  1.8
and surgical treatments on             $10 years                                                                19                   0.7
each other, a sensitivity anal-
All individuals receiving gender-af_rming
yses was conducted, entering
Type of surgical procedures (more than one type is possible)          surgical treatment (N=1,018)
both years since initiation of
Breast or dermatological chest surgery                                   788                 77.4
hormone treatment and years
Surgery of the reproductive organs                                       540                 53.0
since last surgical treatment          Dermatological surgery                                                 315                 30.9
simultaneously into the same           Laryngeal surgery                                                        70                   6.9
model predicting odds of
mood and anxiety disorder
treatment (i.e., psychiatric outpatient health care visits and           as the general population to have had a health care visit for any
prescribed psychiatric medication). The results of this analysis         mood or anxiety disorder, between three and four times as
were similar to those presented above, with a nonsigni_cant              likely to have received prescriptions for antidepressant or
effect of time since initiation of hormone treatment (adjusted           anxiolytic medication, and more than six times as likely to
odds ratio=1.03, 95% CI=0.97, 1.08) and a signi_cant effect of           have been hospitalized after a suicide attempt. Time since
years since last gender-af_rming surgical treatment (ad-                 initiating gender-af_rming hormone treatment was not asso-
justed odds ratio=0.91, 95% CI=0.86, 0.97).                              ciated with these mental health treatment outcomes, whereas
time since receiving gender-af_rming surgery was signi_cantly
associated with a decrease in mental health treatment.
DISCUSSION
These _ndings begin to answer the call for population-
Taking advantage of total population registers containing di-            based documentation of transgender health (1) and extend
agnoses of gender incongruence, gender-related hormone                   earlier evidence of associations between gender-af_rming
and surgical treatment codes, and mental health treatment                treatment and improved mental health mostly derived from
utilization, we examined the potential impact of gender-                 studies utilizing cross-sectional designs or short follow-up
af_rming hormone and surgical treatment on later mental                  periods, self-reported exposures and outcomes, and small
health treatment utilization. The results also present the _rst          nonprobability samples (2, 10, 11). In addition to showing that
known population prevalence of mood and anxiety disorder                 transgender individuals are more likely to utilize mental
treatment and suicide attempts among transgender individuals             health treatments than the general population, the results
compared with the general population. Overall, our results               suggest that gender-af_rming treatments may reduce this
show that transgender individuals, here de_ned as those with a           risk. Speci_cally, the odds of receiving mental health treat-
diagnosis of gender incongruence, are about six times as likely          ment in 2015 were reduced by 8% for every year since
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REDUCTION IN MENTAL HEALTH TREATMENT UTILIZATION AFTER GENDER-AFFIRMING SURGERIES
FIGURE 1. Prevalence of treatment for mood or anxiety disorders (health care visit or antidepressant or anxiolytic prescription) and
hospitalization after suicide attempt in 2015 among individuals with a gender incongruence diagnosis, by number of years since last
gender-af_rming surgery
Hospitalization After Suicide Attempt (%)
50                                                    Treatment for mood or anxiety disorder                                              5.0
45.3%
Mood or Anxiety Disorder (%)
Hospitalization after suicide attempt
40                                     37.4%                                                                                              4.0
36.2%
34.5%
32.4%               32.7%
30            2.8%                                                                                                                        3.0
21.1%
20                                                                                                                                        2.0
12.5%
10                             0.9%                                                                                                       1.0
0.5%
0.0%               0.0%               0.0%          0.0%            0.1%
0                                                                                                                                          0
Perioperative           1 year    2–3 years         4–5 years          6–7 years         8–9 years      _10 years      General
population
Time Since Last Gender-Affirming Surgery
receiving gender-af_rming surgery over the 10-year follow-                                              treatments. Given the free availability of gender-af_rming
up period. Despite this linear decrease, even 10 years af-                                              treatments in Sweden, our approach to ascertaining this
ter receiving such treatments, the prevalence of mental                                                 particular population is likely highly sensitive. Our approach
health treatment utilization continued to exceed that of the                                            also did not include a comparison group of individuals who
general Swedish population (24), suggesting the need to                                                 had sought but not yet received gender-af_rming treatment.
address factors in addition to gender-af_rming treatment                                                While this population might be able to serve as an important
availability that may strengthen transgender individuals’                                               comparison group in future studies, without the ability to
mental health. Such factors may include reductions in                                                   distinguish between those who had not received treatment
structural (e.g., economic inequality), interpersonal (e.g.,                                            because they are waiting for it and those not seeking it in the
victimization), and psychosocial (e.g., identity concealment)                                           _rst place, the current data structure cannot provide this
stressors to which transgender individuals are dispropor-                                               comparison. Longitudinal designs assessing within-person
tionately exposed (4, 24). Ensuring access to transgender-                                              changes in treatment seeking, treatment receipt, and ultimate
af_rming mental health care may also further reduce                                                     mental health outcomes would be essential for tracking
transgender individuals’ persistent psychiatric risk (25).                                              mental health before and immediately after treatment. Be-
Although the prevalence of hospitalization after suicide at-                                            cause our approach could only ascertain suicide attempts
tempt among those with a gender incongruence diagnosis                                                  among living individuals, longitudinal designs that allow for
was too small for statistical testing, the numbers who were                                             tracking completed suicide among decedents remains an
treated after a suicide attempt decreased as a function of years                                        important future direction.
since last gender-af_rming surgery. Among those who received                                               Second, mental health treatment utilization is an imperfect
their last gender-af_rming surgery more than 3 years ago, no                                            proxy for mental health itself. Transgender people receiving
suicide attempts were registered.                                                                       treatment for gender incongruence are by de_nition ex-
Despite the notable methodological strengths of utilizing                                           posed to treatment settings, which may disproportionately
data from a total population, the results should be interpreted                                         expose them to mental health treatment opportunities.
in light of several limitations. First, the criterion used here to                                      Although the Swedish context of universal health care
de_ne the transgender population does not capture the full                                              coverage removes _nancial barriers to treatment seeking,
spectrum of those who identify as transgender. We speci_-                                               other unmeasured factors, such as general tendency toward
cally lacked information regarding gender assigned at birth,                                            treatment seeking or perceived discrimination in treatment
legal gender change, and gender identity at the time of data                                            settings, may in_uence the associations examined here.
collection, preventing subgroup analyses of the transgender                                             Third, because we derived information about outpatient
population (26). Recent estimates across _ve countries                                                  psychiatric health care visits from national health care data-
suggest that between 0.4% and 1.3% of the population may                                                bases, we had limited information about the type of men-
identify as transgender, including gender-nonconforming                                                 tal health treatment patients received, and we could not
individuals who do not seek gender-af_rming hormone or                                                  differentiate among individuals receiving psychotropic
surgical treatment (18, 27–29). Although the transgender                                                medication, psychotherapy, or both. Fourth, this study was
population in the present study is limited to individuals with a                                        conducted in a single high-income national context with legal
diagnosis of gender incongruence, this population is of par-                                            protections for transgender individuals and universal
ticular concern to the medical community because of its high                                            health coverage, including for gender-af_rming treat-
likelihood of seeking gender-af_rming hormone and surgical                                              ments. While this context makes the present study possible,
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BRÄNSTRÖM AND PACHANKIS
it also may constrain the generalizability of _ndings to low-             Received January 25, 2019; revisions received May 7 and June 14, 2019;
and middle-income countries and to countries that lack                    accepted July 16, 2019; published online Oct. 4, 2019.
transgender protections or universal health care coverage.
Overall, this study provides timely support for policies              REFERENCES
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Am J Psychiatry 177:8, August 2020                                                                                    ajp.psychiatryonline.org    733




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REDUCTION IN MENTAL HEALTH TREATMENT UTILIZATION AFTER GENDER-AFFIRMING SURGERIES
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Transgender and Intersex Veterans; Directive 1341. Washington,                 af_rming care and transgender individuals’ mental health. Am J
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Correction to Bränström and Pachankis
After the article “Reduction in Mental Health Treatment Utilization Among Transgender Individuals After Gender-Affirming Surgeries:
A Total Population Study” by Richard Bränström, Ph.D., and John E. Pachankis, Ph.D. (doi: 10.1176/appi.ajp.2019.19010080), was pub-
lished online on October 4, 2019, some letters containing questions on the statistical methodology employed in the study led the Journal
to seek statistical consultations. The results of these consultations were presented to the study authors, who concurred with many of the
points raised. Upon request, the authors reanalyzed the data to compare outcomes between individuals diagnosed with gender incongru-
ence who had received gender-affirming surgical treatments and those diagnosed with gender incongruence who had not. While this
comparison was performed retrospectively and was not part of the original research question given that several other factors may differ
between the groups, the results demonstrated no advantage of surgery in relation to subsequent mood or anxiety disorder-related health
care visits or prescriptions or hospitalizations following suicide attempts in that comparison. Given that the study used neither a prospec-
tive cohort design nor a randomized controlled trial design, the conclusion that “the longitudinal association between gender-affirming
surgery and lower use of mental health treatment lends support to the decision to provide gender-affirming surgeries to transgender in-
dividuals who seek them” is too strong. Finally, although the percentage of individuals with a gender incongruence diagnosis who had
received gender-affirming surgical treatments during the follow-up period is correctly reported in Table 3 (37.9%), the text incorrectly
refers to this percentage as 48%. The article was reposted on August 1, 2020, correcting this percentage and including an addendum ref-
erencing the postpublication discussion captured in the Letters to the Editor section of the August 2020 issue of the Journal (1).
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734    ajp.psychiatryonline.org                                                                                      Am J Psychiatry 177:8, August 2020




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LETTERS
Letters to the Editor
Reassessing Mental Health Treatment                                     3. Van Mol A, Laidlaw MK, Grossman M, et al: Gender-af_rmation
surgery conclusion lacks evidence (letter). Am J Psychiatry 2020;
Utilization Reduction in Transgender                                       177:765–766
Individuals After Gender-Af_rming Surgeries:                            4. Curtis D: Study of transgender patients: conclusions are not sup-
ported by _ndings (letter). Am J Psychiatry 2020; 177:766
A Comment by the Editor on the Process                                  5. Malone WJ, Roman S: Calling into question whether gender-
af_rming surgery relieves psychological distress (letter). Am J
On October 4, 2019, we published an article by Bränström and
Psychiatry 2020; 177:766–767
Pachankis in which it was reported that observed reductions             6. Landén M: The effect of gender-af_rming treatment on psychiatric
in mental health treatment utilization lent support to the                 morbidity is still undecided (letter). Am J Psychiatry 2020; 177:
decision to provide gender-af_rming surgeries to those who                 767–768
seek them (1). After this article’s publication, we received            7. Wold A: Gender-corrective surgery promoting mental health in
persons with gender dysphoria not supported by data presented in
several letters calling into question the statistical analyses
article (letter). Am J Psychiatry 2020; 177:768
employed and the conclusions drawn from said analyses.                  8. Ring A, Malone WJ: Confounding effects on mental health obser-
These letters follow this comment (2–8).                                   vations after sex reassignment surgery (letter). Am J Psychiatry
We enlisted the services of a statistical reviewer to look             2020; 177:768–769
again at the article as well as the letters we received. We then        9. Bränström R, Pachankis JE: Toward rigorous methodologies for
strengthening causal inference in the association between gender-
sent the letters we received and the results of this statistical
af_rming care and transgender individuals’ mental health: response
review, which called for a matched-pairs analysis, to the                  to letters (letter). Am J Psychiatry 2020; 177:769–772
original authors. The study authors complied with the re-              10. Mueller SC: Mental health treatment utilization in transgender
quest to perform an additional analysis, as presented in their             persons: what we know and what we don’t know (editorial). Am J
letter response (9).                                                       Psychiatry 2020; 177:657–659
We sent the original letters, statistical review, and author                                                            Ned H. Kalin, M.D.
response to a second statistical reviewer. The response from
Editor-in-Chief
this consultation convinced us that, given that the study used
The American Journal of Psychiatry
neither a prospective cohort design nor a randomized con-
trolled trial design, the conclusion that “the longitudinal            Am J Psychiatry 2020; 177:764; doi: 10.1176/appi.ajp.2020.20060803
association between gender-af_rming surgery and reduced
likelihood of mental health treatment lends support to the
decision to provide gender-af_rming surgeries to trans-                Methodological Shortcomings Undercut
gender individuals who seek them” was too strong. In the               Statement in Support of Gender-Af_rming
August 2020 issue of the Journal, we are publishing a                  Surgery
correction to this effect and including an addendum to the
article pointing to this postpublication discussion and                TO THE EDITOR: The article by Bränström and Pachankis (1)
process, both of which were composed with contributions                has the stated aim “to ascertain the prevalence of mood and
and approval from the original article authors.                        anxiety disorder health care visits and antidepressant and
We thank the letter writers, statistical reviewers, and the        anxiolytic prescriptions in 2015 as a function of gender
original study authors—as well as the editorialist we invited to       incongruence diagnosis and gender-af_rming hormone
place this study’s _ndings in context (10)—for helping us to           and surgical treatment in the entire Swedish population.”
make clear to our readers and for the literature what the              The authors conclude that “the longitudinal association
article shows and what still remains to be investigated in             between gender-af_rming surgery and reduced likelihood
future research.                                                       of mental health treatment lends support to the decision
to provide gender-af_rming surgeries to transgender indi-
REFERENCES                                                             viduals who seek them.” In support of this claim, the authors
1. Bränström R, Pachankis JE: Reduction in mental health treatment    report that the time since “last gender-af_rming surgery” (in
utilization among transgender individuals after gender-af_rming    2005–2014) was associated with reduced “mental health
surgeries: a total population study. Am J Psychiatry 2020; 177:    treatment” (a combined variable of outpatient visits with a
727–734
2. Anckarsäter H, Gillberg C: Methodological shortcomings undercut    diagnosis of a mood or anxiety disorder and/or prescriptions
statement in support of gender-af_rming surgery (letter). Am J     for antidepressants or anxiolytics) during 2015 (adjusted odds
Psychiatry 2020; 177:764–765                                       ratio50.92, 95% CI50.87–0.98). The authors have also
764   ajp.psychiatryonline.org                                                                              Am J Psychiatry 177:8, August 2020




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LETTERS TO THE EDITOR
shown that the group of people diagnosed with gender                           Gender-Af_rmation Surgery Conclusion
incongruence have a dramatically worse overall mental                          Lacks Evidence
health outcome than the general population, which is, in fact,
the answer to their stated aim and research question, but this                 TO THE EDITOR: We have concerns regarding severe short-
_nding is not even referred to in the title or in the Conclusions              comings in the study by Bränström and Pachankis (1) that call
section of the article.                                                        into question the authors’ conclusion that it “provides timely
In view of the claim that surgery was shown to be an                        support for policies that ensure coverage of gender-af_rming
ef_cient treatment for gender incongruence, the following                      treatments.”
issues have to be raised:                                                         This study covered outcomes only for calendar year
2015 for all individuals living in Sweden on December 31,
1. Variables, hypotheses, and analytical strategies were not                   2014. The retrospective metric of “time since last gender-
described pre hoc. Adequate power analyses and cor-                         af_rming surgery” in Figure 1 in the article is easily mis-
rections for multiple comparisons were not provided.                        interpreted as a prospective 10-year follow-up that did not
2. The article is vague or noninformative with respect to key                  occur and leaves open the question of number and type of
aspects. Biological sex ratios are not provided. Surgeries                  prior surgeries.
for complications or even unrelated surgeries (e.g., in the                    The 2,679 individuals diagnosed with gender incongruence
skin or the larynx) may have been included. Lithium and                     in Sweden is a full order of magnitude below prevalence ex-
atypical antipsychotic medications were not included as                     pectations from DSM-5. Table 3 in the article indicates that
treatments for mood disorders, while a histamine blocker                    38% of these individuals had any kind of gender-af_rming
such as hydroxyzine, which is mainly used for non-mental                    surgery, but only 53% of those had surgery of reproductive
health problems, was. Outpatient visits for mood and                        organs. Given that such treatment in Sweden is free, ample
anxiety disorders were included as “mental health treat-                    loss to follow-up is implied.
ment” but not care for sleeping disorders, substance-                          Measured outcomes were limited to “mood and anxiety
related disorders, major mental disorders, or any inpatient                 disorder health care visits, antidepressant and anxiolytic
psychiatric treatment.                                                      prescriptions, and hospitalization after a suicide attempt.”
3. The nonnormal distribution of data, known secular                           This selection excludes completed suicides, suicide attempts
changes, age effects, or people who left Sweden and                         without subsequent hospitalization, health care visits and
moved abroad, died from suicide or other causes, or had                     hospitalizations for other medical or psychological issues still
surgery to desist were not considered in the interpreta-                    related to gender-af_rming surgeries, individuals refusing
tion of the analyses.                                                       treatment, and individuals choosing self-medication with
As the article stands, we actually have no way of knowing                   alcohol or illicit substances. Again, signi_cant loss to fol-
whether the four reported analyses of purported treatment                      low-up must be considered before declaring success.
effects (time elapsed since start of hormones OR since last                       Dhejne’s cohort study of 324 persons in Sweden un-
surgery BY outpatient mental health treatment OR suicide                       dergoing sex-reassignment surgery used 30 years of data,
attempt–related hospitalization), one of which was statisti-                   population controls, and matching by birth year, birth sex,
cally signi_cant by a small margin, were the _rst analyses                     and reassigned sex (2). Through the Hospital Discharge
made or the _nal setup chosen for publication after a “_shing                  Register, the authors evaluated discharge diagnoses, external
expedition” in the database.                                                   causes of morbidity and mortality, and surgical procedure
These methodological shortcomings preclude any state-                       codes. Compared with the general population, patients who
ment on the suitability of early surgery in persons seeking                    had sex reassignment surgery had 19 times the rate of
treatment for gender noncongruence based on the results                        completed suicide, almost three times the rate of all-cause
presented in this article.                                                     mortality, nearly three times the rate of inpatient psychiatric
care, and close to _ve times the rate of suicide attempts.
REFERENCE                                                                         These important _ndings could have been updated to the
1. Bränström R, Pachankis JE: Reduction in mental health treatment             current period, given the sharp rise in adolescent case pre-
utilization among transgender individuals after gender-af_rming             sentations, use of puberty blockers, and changes in cross-sex
surgeries: a total population study. Am J Psychiatry 2020; 177:             hormones from agents like ethinyl estradiol to 17b-estradiol.
727–734
For those whose last surgery was 10 or more years earlier,
Henrik Anckarsäter, M.D., Ph.D.        how many completed suicide, died of other causes, or left
Christopher Gillberg, M.D., Ph.D.       Sweden prior to study initiation? A drop in hospitalizations
Centre for Ethics, Law and Mental Health (Anckarsäter), and Gillberg Neuro-
for suicide attempts alone provides a very incomplete picture.
psychiatry Centre (Gillberg), University of Gothenburg, Gothenburg, Sweden.    When the data for such _ndings are accessible in the Swedish
Send correspondence to Dr. Anckarsäter (henrik.anckarsater@neuro.gu.se).       national registers, this omission is glaring.
The authors report no _nancial relationships with commercial interests.           The lack of control subjects, the limited 1-year time frame,
Accepted May 18, 2020.                                                         and the avoidance of examining completed suicides and
Am J Psychiatry 2020; 177:764–765; doi: 10.1176/appi.ajp.2020.19111117         psychiatric hospitalizations are substantial study shortfalls.
Am J Psychiatry 177:8, August 2020                                                                                  ajp.psychiatryonline.org   765




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LETTERS TO THE EDITOR
The study supports only weak conclusions about psychiatric                              When one views the data on which these analyses are based,
medication usage and nothing decisive about suicidality.                             as presented in Figure 1 in the article, some very clear features
In overlooking so much available data, this study lacks                              emerge. First, there is obviously no general correlation between
the evidence to support its progender-af_rmation surgery                             the outcomes and time since surgery. Rather, a spike in suicide
conclusion.                                                                          attempts is seen in the year after surgery (in 2.8% of the pa-
tients), which falls off over the next 1–2 years, and to a lesser
extent, there is also a spike in the proportion of patients re-
REFERENCES
1. Bränström R, Pachankis JE: Reduction in mental health treatment                   ceiving mental health treatment in the _rst year, going up to
utilization among transgender individuals after gender-af_rming                   45.3%. There is also a low rate of mental health treatment
surgeries: a total population study. Am J Psychiatry 2020; 177:                   among patients who received surgery 10 or more years
727–734                                                                           earlier. This may re_ect the fact that in the past, patients
2. Dhejne C, Lichtenstein P, Boman M, et al: Long-term follow-up of                  with mental health problems would have been less likely to
transsexual persons undergoing sex reassignment surgery: cohort
study in Sweden. PLoS One 2011; 6:e16885
be offered surgery.
The study con_rms the strong association between psy-
Andre Van Mol, M.D.            chiatric morbidity and the experience of incongruity between
Michael K. Laidlaw, M.D.
gender identity and biological sex. However, the study does
Miriam Grossman, M.D.
Paul R. McHugh, M.D.            not demonstrate that either hormonal treatment or surgery
has any effect on this morbidity. It seems that the main
Family Practice, Dignity Health Medical Group North State, Redding, Calif. (Van      message of this article is that the incidence of mental health
Mol); Michael K. Laidlaw, M.D., Inc., Rocklin, Calif. (Laidlaw); Miriam Grossman,
M.D., Psychiatry, New York (Grossman); Department of Psychiatry and Be-              problems and suicide attempts is especially high in the year
havioral Sciences, Johns Hopkins University, Baltimore (McHugh).                     after the completion of gender-af_rming surgery and that
Send correspondence to Dr. Laidlaw (docdrlaidlaw@gmail.com).                         increased support in this period might be indicated.
Dr. McHugh is listed as a coauthor of the Mini-Mental State Examination. The
other authors report no _nancial relationships with commercial interests.
Accepted May 18, 2020.
REFERENCE
1. Bränström R, Pachankis JE: Reduction in mental health treatment
Am J Psychiatry 2020; 177:765–766; doi: 10.1176/appi.ajp.2020.19111130
utilization among transgender individuals after gender-af_rming sur-
geries: a total population study. Am J Psychiatry 2020; 177:727–734
Study of Transgender Patients: Conclusions                                                                                            David Curtis, M.D., Ph.D.
Are Not Supported by Findings                                                        UCL Genetics Institute, University College London, London; and Centre for
Psychiatry, Queen Mary University of London, London.
TO THE EDITOR: The study of transgender individuals by
Send correspondence to Prof. Curtis (d.curtis@ucl.ac.uk).
Bränström and Pachankis claims to demonstrate a reduction
The author reports no _nancial relationships with commercial interests.
in mental health treatment utilization after gender-af_rming
Accepted May 18, 2020.
surgery but, in fact, demonstrates no such thing (1).
Am J Psychiatry 2020; 177:766; doi: 10.1176/appi.ajp.2020.19111131
The only result they present that they claim is statistically
signi_cant is that there is an association between years since
last gender-af_rming surgery and recent mental health                                Calling Into Question Whether Gender-
treatment (adjusted odds ratio50.92, 95% CI50.87–0.98).                              Af_rming Surgery Relieves Psychological
This result makes no sense as it stands because analysis of a
Distress
quantitative measure against an outcome does not produce an
odds ratio. Presumably, the authors must mean that each year                         TO THE EDITOR: The study by Bränström and Pachankis (1)
since surgery is associated with an odds ratio of 0.92. There                        shows a reduction in mental health treatments and hospi-
are also discrepancies between the data discussed in the text                        talization after suicide attempts with increased time after
and in the tables. For example, the authors quote the per-                           masculinizing or feminizing surgeries.
centage of patients with gender incongruence who received                                The data presented in Figure 1 in the article support
no treatment as 29% in the text but 29.6% in Table 3 and, more                       _ndings from previous studies showing that transgender
importantly, the percentage of patients who received surgery                         individuals have baseline mental health distress that is higher
as 48% in the text but only 38.0% in the table. However, the                         than that of the general population, but it is not possible to
key statistical criticism is that they have failed to carry out                      conclude from these data whether gender-af_rming surgery
standard corrections for multiple testing. As they tested two                        relieves that distress.
interventions, hormone treatment and surgery, against two                                According to the study, mental health utilization rates
outcomes, mental health treatment and suicide attempts,                              were highest in the perioperative period. However, the data
they performed four tests. Because the upper con_dence                               also could be interpreted as showing that masculinizing or
interval that they quote is very close to 1, it is obvious that if                   feminizing surgeries were the actual cause of increased
appropriate correction for multiple testing had been applied,                        mental health utilization. Surgery is a known risk factor for
then none of the results would have been deemed signi_cant.                          the development of depression (2) and may have caused a
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                                                                                                                                                        Case 1:19-cv-00272-LCB-LPA Document 197-6 Filed 01/19/22 Page 11 of 17
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deterioration in mental health in a population of individuals                     The Effect of Gender-Af_rming Treatment on
who already had more psychological distress, which abated                         Psychiatric Morbidity Is Still Undecided
with time since surgery. It is just as possible that mental
health improved as individuals had fewer surgeries.                               TO THE EDITOR: In this issue of the Journal, Bränström and
After the initial 11% drop in mental health visits in the _rst                Pachankis study mental health treatment and suicide attempts
year after surgery, there was very little change in mental                        in persons diagnosed with gender dysphoria in Sweden (1).
health visits (5.6% over 9 years), and there was a further 11%                    Their claim that the study shows that gender-af_rming treat-
fall in the $10-year group. It is not clear what caused the                       ment reduces the risk of mental health treatment and suicide
reduction in the two markers for mental health distress past                      attempts is misleading because the study design is _awed.
the 10-year mark. Loss to follow-up, death from suicide of the                       The authors _rst found what was already known (2): the
most psychologically distressed individuals, or death from                        rate of psychiatric morbidity is much higher in persons with
cardiovascular disease, all known to be increased in the                          gender dysphoria compared with the general population. The
transgender population, could have falsely skewed the $10-                        authors then explored if the risk for mental health treatment
year data. Comparisons with a control group would be best                         changes as a function of years since starting hormonal
to answer these questions.                                                        treatment. They _nd no effect (odds ratio51.0), but they do
In addition, there are only 19 people in the $10-year group                   _nd a trend toward increased risk of suicide attempts as a
who underwent gender-af_rming surgery. A total of 21.1% of                        function of years since starting hormonal treatment. In their
them received mental health treatment, which is only four                         key analysis, allegedly showing that gender-af_rming surgery
people. This means that a single mental health utilization                        decreases risk for psychiatric treatment and suicide attempts,
event in either direction would change the calculated rate of                     they relate these negative outcomes to the number of years
utilization by 5%. However, the assertion that gender-                            since surgery. Contrary to what the authors repeatedly claim,
af_rming surgeries reduce mental health visits by 8% is                           they do not employ a longitudinal design but conduct a
highly dependent upon this sudden drop in rates in the                            retrospective analysis un_t for their research question.
$10-year group of only 19 people.                                                    First, the authors include only persons who were alive in
Finally, no information is given about the composition of                     2014. That means that those who died by suicide before
the year 1 and $10-year groups, but given the changing ep-                        2014—and hence were at highest risk for suicide attempt—are
idemiology of gender dysphoria in Sweden (3), the year                            excluded and confound the results. Second, any analysis
1 group likely included a higher percentage of younger natal                      starting with a negative event is bound to _nd a decreased risk
females than the $10-year group, which likely had more older                      for related negative outcomes with increasing time after the
natal males, making comparisons between the year 1 and $10-                       event. To exemplify this point, the rate of antidepressant
year groups problematic.                                                          treatment would decrease with time after a suicide attempt.
Because of the limitations in the study design, it is not                     This does not mean that suicide attempts cause a decrease in
possible to determine the cause of the differences in mental                      risk of antidepressant treatment; it is merely a case of re-
health service utilization or whether true reductions in                          gression toward the mean. Third, persons undergoing gender
psychological distress actually occurred. Therefore, the au-                      transition have, by de_nition, contact with mental health
thors’ conclusion that the results of their study should be                       services in Sweden. After the transition, persons are followed
interpreted to support policies that provide gender-af_rming                      up by endocrinologists and sometimes general practitioners;
surgeries cannot be supported.                                                    only those with persistent mental health issues are followed
in psychiatric care. The authors’ _nding of lower rates of
mental health treatment with increasing time after surgery is
REFERENCES                                                                        therefore not only a case of regression toward the mean, but it
1. Bränström R, Pachankis JE: Reduction in mental health treatment                also follows from the standards of care and is not a proxy for
utilization among transgender individuals after gender-af_rming sur-
improved mental health.
geries: a total population study. Am J Psychiatry 2020; 177:727–734
2. Wilson BR, Tringale KR, Hirshman BR, et al: Depression after spinal               Because the authors do not present data prior to gender-
surgery: a comparative analysis of the California outcomes database.           af_rming surgery, the study is uninformative with regard to
Mayo Clin Proc 2017; 92:88–97                                                  the effects on psychiatric morbidity. Moreover, the authors
3. Landén M: [Dramatic increase in adolescent gender dysphoria re-                miss the one conclusion that can be drawn: that the peri-
quires careful consideration.] Lakartidningen 2019; 116 (Swedish)
operative transition period seems to be associated with high
William J. Malone, M.D.          risk for suicide attempt. Future research should use properly
Sven Roman, M.D.           designed observational studies to answer the important
Idaho College of Osteopathic Medicine, Boise (Malone); Dr. Roman is in private
question as to whether gender-af_rming treatment affects
practice in child and adolescent psychiatry in Stockholm.                         psychiatric outcomes.
Send correspondence to Dr. Malone (malone.will@gmail.com).
The authors report no _nancial relationships with commercial interests.
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Accepted May 18, 2020.                                                            1. Bränström R, Pachankis JE: Reduction in mental health treatment
Am J Psychiatry 2020; 177:766–767; doi: 10.1176/appi.ajp.2020.19111149               utilization among transgender individuals after gender-af_rming
Am J Psychiatry 177:8, August 2020                                                                                      ajp.psychiatryonline.org   767




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surgeries: a total population study. Am J Psychiatry 2020; 177:              surgical correction (0.9% of 221) and one case 2–3 years after
727–734                                                                      the last surgical treatment (0.5% of 198), while none occurred
2. Dhejne C, Lichtenstein P, Boman M, et al: Long-term follow-up of
more than 3 years after the last surgery. Thus, 13 individuals
transsexual persons undergoing sex reassignment surgery: cohort
study in Sweden. PLoS One 2011; 6:e16885                                     (10 plus two plus one) of the 22 persons who were hospi-
talized for a suicide attempt in 2015 had undergone gender-
Mikael Landén, M.D., Ph.D.
corrective surgery. Consequently, nine of them (22 minus 13)
Institute of Neuroscience and Physiology, Sahlgrenska Academy, University of    had not undergone any gender-af_rmation surgery.
Gothenburg, Gothenburg, Sweden; and Department of Medical Epidemiology              This corresponds to an odds ratio of 2.37 (95% CI51.01–5.56,
and Biostatistics, Karolinska Institutet, Stockholm.
p50.047). Hence, among the individuals examined in the study,
Send correspondence to Dr. Landén (mikael.landen@gu.se).
the risk of being hospitalized for a suicide attempt was 2.4 times
Dr. Landén has received lecture honoraria from Lundbeck.
higher if they had undergone gender-corrective surgery than if
Accepted May 18, 2020.
they had not. Whether this is a causal relation (i.e., that surgery
Am J Psychiatry 2020; 177:767–768; doi: 10.1176/appi.ajp.2020.19111165
actually worsens the poor mental health in individuals with
gender dysphoria) cannot be determined. Nevertheless, the data
Gender-Corrective Surgery Promoting Mental                                      presented in the article do not support the conclusion that
Health in Persons With Gender Dysphoria Not                                     surgery is bene_cial to mental health in individuals with gender
dysphoria.
Supported by Data Presented in Article
TO THE EDITOR: The article by Bränström and Pachankis                           REFERENCE
(1) examines the psychiatric health of persons who have                         1. Bränström R, Pachankis JE: Reduction in mental health treatment
utilization among transgender individuals after gender-af_rming sur-
obtained a diagnosis of gender dysphoria between 2005 and                          geries: a total population study. Am J Psychiatry 2020; 177:727–734
2015 compared with the general population. The variables
Agnes Wold, M.D., Ph.D.
examined were psychiatric diagnosis, prescription of psy-
chiatric drugs (anxiolytics and antidepressants), and hospi-                    Department of Infectious Diseases, Institute of Biomedicine, Sahlgrenska
talization for suicide attempt in 2015.                                         Academy, University of Gothenburg, Gothenburg, Sweden.
The results con_rm what is already known, that is, that as                 Send correspondence to Dr. Wold (agnes.wold@microbio.gu.se).
a group, persons with gender dysphoria suffer from poorer                       The author reports no _nancial relationships with commercial interests.
psychiatric health than the general population.                                 Accepted May 18, 2020.
However, the title of the article implies that gender-                     Am J Psychiatry 2020; 177:768; doi: 10.1176/appi.ajp.2020.19111170
corrective surgery promotes mental health in this group,
and the authors conclude in the Abstract section that the                       Confounding Effects on Mental Health
study “lends support to the decision to provide gender-
Observations After Sex Reassignment Surgery
af_rming surgeries to transgender individuals who seek
them.” In my opinion, this conclusion is not supported by the                   TO THE EDITOR: Bränström and Pachankis (1) report that
data presented in the article.                                                  Swedes with gender dysphoria who had undergone sex
The most straightforward method to test whether surgery                    reassignment surgery in the decade to 2015 had a declining
contributes to better psychological health would be to                          need for mental health treatment (as shown in Figure 1 in the
compare the health of those who underwent surgery with                          article), leading them to consider that sex reassignment sur-
those who did not.                                                              gery improves mental health. However, the same data may be
Of the persons diagnosed with gender dysphoria pre-                        modeled in a way that leads to the opposite conclusion.
sented in the article, 1,018 had undergone surgery, while 1,661                    Except for a reduction after the perioperative year,
had not. There were 22 individuals who were hospitalized in                     Bränström and Pachankis found no further signi_cant de-
2015 for a suicide attempt. The authors do not state how many                   crease in mental health treatment between the _rst and ninth
of these individuals had received surgery, but this may be                      years after surgery. They allowed for the increase in sex
calculated by combining the data from Table 3 and Figure 1 in                   reassignment surgery from 2005 on but overlooked the in-
the article. Figure 1 shows the proportion of persons with                      crease in co-occurring mental health issues, which rose after
gender dysphoria who were hospitalized for suicide attempt                      2005 but especially from about 2009 (2). A simple qualitative
in 2015, grouped according to the time that had elapsed since                   model illustrates how a dramatic change over time in mental
the last gender-corrective surgery. Table 3 shows the number                    health issues will affect the number of individuals accessing
of individuals with gender dysphoria, grouped according to                      mental health treatment in 2015. In our Figure 1, the upper
the time elapsed since last surgical operation (“Time since last                line depicts the rise in the number of sex reassignment
gender-af_rming surgical treatment”).                                           surgeries, and the lower dark line depicts the rise in co-
By combining these data, we can calculate that 10 of the                   occurrence of mental health issues, assuming a _nal rise of
suicide attempts (2.8% of 353) occurred during the same year                    200% and a _nal co-occurrence of 75% (3).
that the last surgical correction was made (“perioperative”                        Because patients undergoing this surgery in the years
group in Figure 1). Two cases occurred 1 year after the last                    closest to 2015 had higher rates of co-occurring mental health
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FIGURE 1. Qualitative model of the number of sex reassignment                                                                                          However, if in fact this surgery aggravates a mental health
surgeries and co-occurrence of mental health issues among                                                                                           condition by, say, 25%, then a more moderate fall in mental
individuals accessing mental health treatmenta
health utilization results (see the dashed line in Figure 2). The
400                                                                   qualitative approximation of this curve with the reduction
described by Bränström and Pachankis (in their Figure 1) is
Number of Patients and Comorbidity Percentage
350
striking. Therefore, accounting for the increase in mental
health issues from 2005, together with an assumption of
300
increased mental health treatment due to this surgery, _ts the
data in the article and overturns the authors’ conclusions,
250
suggesting that sex reassignment surgery is in fact associated
with increased mental health treatment.
200
150                                                                   REFERENCES
1. Bränström R, Pachankis JE: Reduction in mental health treatment
100                                                                      utilization among transgender individuals after gender-af_rming sur-
geries: a total population study. Am J Psychiatry 2020; 177:727–734
2. Lukianoff G, Haidt J: The Coddling of the American Mind: How
50
Good Intentions and Bad Ideas Are Setting Up a Generation for
Failure. New York, Penguin, 2018
0                                                                    3. Kaltiala-Heino R, Sumia M, Työläjärvi M, et al: Two years of gender
2005       2007     2009           2011       2013       2015      identity service for minors: overrepresentation of natal girls with
Year                                    severe problems in adolescent development. Child Adolesc Psychiatry
a                                                                                                                                                      Ment Health 2015; 9:9
The orange boxes indicate the number of patients, the green line indicates
the number of sex reassignment surgeries, and the dark line indicates the                                                                                                                                Avi Ring, Ph.D.
percentage of co-occurrence of mental health issues.
William J. Malone, M.D.
Pharmacy Department, University of Oslo, Oslo (Ring); and Idaho College of
FIGURE 2. Estimation of mental health utilization by individuals in                                                                                 Osteopathic Medicine, Boise (Malone).
the years after sex reassignment surgerya
Send correspondence to Dr. Ring (avi.ring@gmail.com).
Estimated Change in Mental Health Treatment Utilization (%)
60                                                                    The authors report no _nancial relationships with commercial interests.
Accepted May 18, 2020.
Am J Psychiatry 2020; 177:768–769; doi: 10.1176/appi.ajp.2020.19111169
50
Toward Rigorous Methodologies for
40
Strengthening Causal Inference in the
Association Between Gender-Af_rming Care
30
and Transgender Individuals’ Mental Health:
Response to Letters
20
TO THE EDITOR: Increasing attention has been paid to
identifying the best way to support transgender individuals
10                                                                    seeking gender-af_rming care. This attention springs from
the increasing number of individuals seeking such care in
many countries worldwide, coupled with a lack of suf_cient
0
0    1   2      3   4      5       6      7    8     9    10    knowledge to provide evidence-based treatment recom-
Years After Sex Reassignment Surgery                    mendations. This attention is also re_ected in the letters
a
The dotted line portrays projected mental health treatment utilization                                                                          to the editor (1–7) submitted in response to our article in
assuming aggravation of a mental health condition after sex reassign-                                                                           this issue in which we describe mental health treatment
ment surgery. The solid line portrays projected mental health treatment                                                                         utilization among transgender individuals seeking gender-
utilization assuming no aggravating effects after sex reassignment
surgery.                                                                                                                                        af_rming care in Sweden compared with the general pop-
ulation, and as a function of time since last gender-af_rming
issues than those whose surgery happened longer ago, we                                                                                             surgery (8).
would expect the decline in mental health treatment to be                                                                                              The letter writers question our conclusion that our study
pronounced (see the solid line in Figure 2), and with a                                                                                             “lends support to the decision to provide gender-af_rming
bene_cial effect of the surgery over time, the fall should be                                                                                       surgeries to transgender individuals who seek them.” Their
even more signi_cant. Yet surprisingly, Bränström and                                                                                               concerns about this conclusion can be summarized into three
Pachankis found only a very small decline over time.                                                                                                types:
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Concern 1: The analysis focused on mental health treatment         with a gender incongruence diagnosis. We focus on mental
utilization during one speci_c year (i.e., 2015) rather than     health treatment utilization during one speci_c year (the
during a longer follow-up period, such as before and after       latest for which we had data), and we used the total Swedish
provision of gender-af_rming treatment.                          population as a comparison group. First, to answer whether
Concern 2: The study did not employ an adequate comparison         transgender individuals seeking gender-af_rming care have
group.                                                           an increased risk of mental health treatment utilization
Concern 3: The study did not suf_ciently highlight the elevated    compared with the general population, we compared the
mental health care needs of transgender individuals seeking      prevalence of treatment for mood and anxiety disorders
gender-af_rming care during the perioperative period.            among those with and without a gender incongruence di-
agnosis among all individuals living in Sweden. Second,
Our study was motivated by two aims informed by the
to answer whether odds of mental health treatment utili-
literature and the need for more knowledge in this _eld: _rst,
zation among transgender individuals who received gender-
to examine if transgender individuals seeking gender-
af_rming care are lower as a function of number of years since
af_rming care have an increased risk of mental health
receiving gender-af_rming care, we evaluated mental health
treatment utilization compared with the general popula-
treatment utilization in 2015 among those with a gender
tion; and second, to examine if mental health treatment
incongruence diagnosis as a function of time since the ini-
utilization among transgender individuals who received
tiation of gender-af_rming hormone treatment and the last
gender-af_rming care decreases as a function of number of
gender-af_rming surgical treatment.
years since receiving gender-af_rming care.
As outlined below, although this design is capable of ruling
In our article, we describe the background to our analytic
out certain threats to validity (e.g., confounding by secular
decisions and discuss the limitations that our particular
trends), it is incapable of ruling out others (e.g., loss to
study design and analytic approach introduce. Many of the
mortality).
concerns raised by the letter writers are discussed at the
conclusion of the article. In the article, we speci_cally call
Responses to the Letters
for further longitudinal studies that assess within-person
Response to concern 1. The _rst concern is that our analysis
changes in mental health treatment utilization before and
focused on mental health treatment utilization during one
after treatment. In the article, we also note that our ap-
speci_c year (i.e., 2015) rather than during a longer follow-up
proach was capable of ascertaining mental health only
period, such as before and after provision of gender-af_rming
among those alive in 2015 and did not capture outcomes
treatment. This decision was made to control for several
among the deceased. Several of the letter writers’ concerns
important factors. First, the situation for transgender indi-
are drawn from assumptions about what our study meth-
viduals has changed rapidly in the past 10–15 years. In
odology theoretically should have been or could have been
Sweden, legislation affecting transgender individuals (e.g.,
but ultimately was not.
removal of sterilization as a requirement for change of legal
The letter writers suggest more ideal methodologies for
gender; increased protection of transgender individuals in
identifying any causal impact of gender-af_rming care on
hate-speech legislation) has improved at the same time that
mental health treatment utilization, similar to what we
population attitudes have become more accepting (9, 10).
wrote in our article. As outlined below, we join them in
Second, the proportion of individuals in the population
aspiring toward such methodologies capable of more rig-
treated for mental health problems has increased over time.
orously establishing this impact. We also perform additional
Third, access to gender-af_rming care has also increased over
analyses permitted by our current data to start to move toward
time. By restricting our outcome assessment period to one
that goal.
year, 2015, the most recent year for which we had data, we
were able to remove the in_uence of these secular trends
Our Analytic Strategy                                              in transgender acceptance, visibility, and treatment utiliza-
There is a great need for higher-quality studies using more        tion (both gender-af_rming treatment and mental health
representative samples of transgender individuals seeking          treatment).
gender-af_rming care to better understand this population’s           Although our chosen strategy addressed many of the
mental and physical health care needs and the effects of           problems of these secular effects, it has several drawbacks.
gender-af_rming care. Much current evidence derives pri-           Because we looked at mental health treatment utilization in
marily from small studies with cross-sectional designs,            one speci_c year, we could not follow individuals over time.
nonprobability samples, and self-reported treatment expo-          Our analysis of time since last gender-af_rming surgical
sures and mental health outcomes. Our study does not. Al-          treatment compared groups of individuals with varying
though it is not capable of overcoming all threats to validity,    lengths of time since their last treatment. It is possible
our study design represents an improvement over much               that other factors, such as age and a changing proportion
previous research.                                                 of individuals of different legal genders who have sought
Ours is an observational study based on registry data re-       gender-af_rming care over time, could in_uence these com-
garding mental health treatment utilization among individuals      parisons. Therefore, we controlled for those sociodemographic
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factors in our analyses. Another drawback to using only one          incongruence seek only gender-af_rming hormonal treat-
year of mental health treatment utilization data is that our         ment and not gender-af_rming surgical treatment; others
analysis contains a very small number of suicide attempts            seek no treatment at all. The group diagnosed with gender
and no information about previous attempts and completed             incongruence not receiving surgery is a heterogeneous group,
suicides. Studies employing prospective cohort designs are           including those with no intention to seek surgery, that would
needed to better understand suicidality within this group            be inappropriate as a comparison group for those receiving
and its associations with gender-af_rming care. Any con-             surgery. However, to be responsive to some of the letter
clusion regarding suicidality in our present study should be         writers’ interest in comparing individuals with a gender
interpreted with this limitation in mind. This limitation is         incongruence diagnosis who received and did not receive
reported in our article.                                             gender-af_rming surgery, we have created a matched group
of individuals with a gender incongruence diagnosis who
Response to concern 2. The second concern is that our study          have not received surgery. These individuals were each
design lacked an adequate comparison group. To answer                matched to an individual with a gender incongruence di-
whether transgender individuals seeking gender-af_rming              agnosis who had received gender-af_rming surgery by age,
care have an increased risk of mental health treatment uti-          legal gender, education, and country of birth. When com-
lization compared with the general population, we used the           paring the mental health treatment outcomes between the
total population without a gender incongruence diagnosis as a        two groups (Table 1), we found no signi_cant difference in
comparison group. Because the total population differs in            the prevalence of treatment for mood disorders and no
signi_cant ways from the group diagnosed with gender in-             signi_cant difference in the prevalence of hospitalization
congruence, we adjusted our analysis for all available soci-         after suicide attempt. However, individuals diagnosed with
odemographic variables (i.e., age, legal gender, education,          gender incongruence who had received gender-af_rming
income, urbanicity, and country of birth). An alternative way        surgery were more likely to be treated for anxiety disorders
of testing this aim would be to create a comparison group            compared with individuals diagnosed with gender in-
matched on important demographic variables, which we have            congruence who had not received gender-af_rming surgery.
now done. Speci_cally, we now compare individuals di-                As reported in the article, the statistical test for hospitali-
agnosed with gender incongruence with an equally sized               zation after suicide attempt must be interpreted with
group without such a diagnosis matched by age, legal gender,         caution. As noted above, limited information can be drawn
education, and country of birth. The results are presented in        from this particular comparison.
Tables S1 and S2 in the online supplement, and they indicate a          Another comparison group could have involved individuals
similar pattern of results as reported in our article, with only a   without a gender incongruence diagnosis undergoing a surgical
slightly reduced disparity in the odds of mental health              treatment for which a thorough mental health assessment is
treatment utilization when individuals diagnosed with gen-           required, as it is for gender-af_rming surgery. However, we are
der incongruence are compared with matched control sub-              unaware of any such surgical treatment. Such a comparison
jects (instead of with the full population without gender            group would have, theoretically, enabled us to partially over-
incongruence, as was done in the original analysis).                 come two threats to the validity of our _nding that odds of
To determine if mental health treatment utilization among        mental health treatment are lower as a function of time since
transgender individuals receiving gender-af_rming care de-           _nal gender-af_rming surgery. The _rst threat is that people are
creases as a function of number of years since receiving gender-     required to be screened for mental health problems before
af_rming care, we did not use a comparison group but tested          gender-af_rming surgery and might therefore have particularly
the association between both year since initiation of gender-        high odds of mental health treatment in the perioperative year
af_rming hormone treatment and year since last gender-               because of their perhaps involuntary receipt of mental health
af_rming surgical treatment with mental health treatment             services. These individuals might be less likely to voluntarily
utilization in 2015. As a reference, we included the proportion      seek treatment for mental health problems with greater time
of the general population treated for mental health conditions       since surgery. The second threat is that because we assessed
in 2015 in Figure 1 of our article. We have added the proportion     only the mental health of individuals who were alive in 2015,
of the matched control subjects treated for mental health            individuals who died by suicide or migrated would not be in-
problems in 2015 to Figure S1 in the online supplement.              cluded; greater time since last surgical treatment comes with
Like some of the letter writers suggest, we also considered      greater time for suicide or migration to happen.
using a stronger comparison group but found the options
unsatisfactory, if not impossible. Perhaps the most obvious          Response to concern 3. The third concern is that the study did
comparison would have been individuals with a gender in-             not suf_ciently highlight the elevated mental health care
congruence diagnosis who had not received surgical treat-            needs of transgender individuals seeking gender-af_rming
ment. This would be a strong comparison group if all                 care during the perioperative period. The letter writers
individuals diagnosed with gender incongruence are, in fact,         highlight this important _nding of our study that we did not
seeking gender-af_rming surgical treatment. However, this            suf_ciently emphasize originally. Speci_cally, regardless of
is not the case. Some individuals diagnosed with gender              the effect of gender-af_rming care on mental health treatment
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TABLE 1. Mood- and anxiety-related health care visits, antidepressant and anxiolytic prescriptions, and hospitalization after suicide
attempt in 2015 among individuals diagnosed with gender incongruence in Sweden between 2005 and 2015, by gender-af_rmative
surgery status
Individuals Diagnosed With Gender          Individuals Diagnosed With Gender
Incongruence Who Have Received          Incongruence Who Have Not Received
Gender-Af_rmative Surgery (N51,018)       Gender-Af_rmative Surgery (N51,018)a                        Analysis
2015 Treatment Outcome                          N                      %                   N                        %             Odds Ratio       95% CI
Psychiatric outpatient visits
Any mood disorder                            98                     9.6                 88                       8.6                1.13       0.83–1.52
Any anxiety disorder                         85                     8.3                 62                       6.1                1.40       1.00–1.97
Prescribed medication
Any antidepressant                          301                   29.6                292                      28.7                 1.04       0.86–1.26
treatment
Any anxiolytic treatment                    215                    21.1                149                      14.6                1.56        1.24–1.96
Inpatient visit (hospitalization                  13                   1.3                   7                      0.7               1.87       0.74–4.70
after suicide attempt)
a
Control group matched by age, gender, education, and country of birth.
utilization, our results show that the mental health care needs                REFERENCES
of this population are substantial in the year surrounding                      1. Anckarsäter H, Gillberg C: Methodological shortcomings undercut
statement in support of gender-af_rming surgery (letter). Am J
the last gender-af_rming surgery. These results highlight the
Psychiatry 2020; 177:764–765
need for further research and clinical attention to be paid to                  2. Van Mol A, Laidlaw MK, Grossman M, et al: Gender-af_rmation surgery
the stressors and needed supports of this period (11).                             conclusion lacks evidence (letter). Am J Psychiatry 2020; 177:765–766
In sum, the letter writers point out that although our study                 3. Curtis D: Study of transgender patients: conclusions are not sup-
design addressed some threats to validity (e.g., confounding by                    ported by _ndings (letter). Am J Psychiatry 2020; 177:766
4. Malone WJ, Roman S: Calling into question whether gender-
secular trends), it introduced others (e.g., loss to mortality).
af_rming surgery relieves psychological distress (letter). Am J
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since completing such treatment, at least among those who                                                                       Richard Bränström, Ph.D.
are still living in Sweden.                                                                                                      John E. Pachankis, Ph.D.
We thank the letter writers for their attention to this
Department of Clinical Neuroscience, Karolinska Institutet, Stockholm
important topic and, recognizing the importance of ap-                         (Bränström); and Department of Social and Behavioral Sciences, Yale School of
proaching this topic with triangulated, rigorous methodolo-                    Public Health, New Haven, Conn. (Pachankis).
gies, look forward to further collaborative research using                     Send correspondence to Dr. Bränström (richard.branstrom@ki.se).
even higher-quality methodologies to move closer to estab-                     The authors’ disclosures accompany the original article.
lishing the causal impact of gender-af_rming care on the                       Accepted May 22, 2020.
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